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EXHIBIT B
Case 2:15-cv-02306-JAD-PAL Document 38-2 Filed 04/28/16 Page

JOSEPH L. ANDERSON
Dear United States Supreme Court:

There has been a disciplinary matter against me. Please allow th
stand as my explanation of the matter.

2 of 20

is to

My firm handles aviation disasters nationwide and has done so for about
ten years. We have represented the surviving families of aircrash disaster

victims, principally.

Back in 2006 a flight crashed in Kentucky. I was then licensed in

Kentucky, among other places. Following the crash I put up a website

iy v

offering grief counseling services to victims of the crash. These wer

e to be

furnished by other aircrash victims' family members. The site also joffered

legal advice if requested. The website was received as an advertise

ment,

and the Kentucky Bar asked me to submit the site to them for review. I

immediately did so and also took the further, unrequested step of

immediately taking the site down in its entirety once I realized it was not

appreciated.

Sometime during the few days that the site was up, and without

my

knowledge or consent, my former paralegal sent a note to a co-worker of
one of the victims directing her to the accident-related website. This was

viewed as a solicitation, and mortified me. 7

The matter was resolved without suspension and by a reprimand
which I consented.

to

I am attaching copies of the relevant affidavit and the opinion accepting

our negotiated resolution.

Sincerely,

Joseph L. Anderson

Case 2:15-cv-02306-JAD-PAL Document 38-2 Filed 04/28/16 Page 3 of 20

1, Courtney Southem having been duly sworn, do hereby depose and state as folloy

1.

ho

AFFIDAVIT OF COURTNEY SOUTHERN

~

Ss:

As of the date I make this affidavit, I am more than 18 years of age and am not under

the influence of any undue coercion or duress. | make this affidavit freely, and

because it is the truth.
1am employed as a paralegal for Anderson, Weber & Henry, P.C, in Kemersville,
North Carolina.

On or about August 31, 2006, I sent a message through the website

www.myspace.com to a profile named “SoooBootylicious.” This profile stated to

the public that the person who owned the profile worked at GALLS with a few of

the individuals who died in the Comair 5191 airline disaster.

sha

Through this profile, 1 saw that this individual was communicating throu
message board for GALLS employees (which was also on Myspace) and was
inviting others to share memories of their lost co-workers. 2

L sent an e-mail message directly to the owner of this profile to make ne aware of
the www. Comairs191 families.com, a website that Anderson Weber & Henry,
P.C. had recently sponsored. In my email, I invited her to share the website with
others who might be interested in connecting with people who shared a similar

loss or to post remembrances of their family members, friends or co-wo ‘kers. A

copy of my message, as posted by the owner of this profile, is attached , Exhibit

A. i

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6. I was not asked to send this e-mail by anyone at our law firm or anyone outside of
our office. The attorneys at Anderson Weber & Henry were unaware of my e-
mail to this person. I personally made the decision to share the website and its
intended purpose with others.

7. On August 31, 2006, the owner of the profile “SoooBootylicious” posted the entire
content of my ¢-miail to the message board for GALLS employees with a note

>
!

stating, “Someone sent this to me and J thought others may benefit from it!” A copy

of this message is attached in Exhibit A. At the same time, the owner of this
profile also sent a message to my personal Myspace profile requesting that Tadd her
as a “friend” on my profile, which I did.
8. On September 5, 2006, I received a telephone call from Joseph Anderson, |a partner

with our firm. He alerted me to the fact that the website

www.Comairs 191 families.com, was being reviewed by the Kentucky State Bar

advertising division for compliance with Kentucky Bar regulations and that an e-
mail I had sent was also under review. I explained the process of the email to him at

this time (as described above). Mr, Anderson informed me that the website was

being taken down immediately at his request and he instructed me to contact the
|

owner of ‘“SoooBootylicious” and ask her to remove the copy of my e-mail she had
posted on her profile. He explained that these measures were being taken to ensure

complete and immediate compliance with the Kentucky State Bar and to avoid any

confusion with regard to the website’s intended purpose.

9, Following my conversation with Mr, Anderson, I immediately sent the aad
message through Myspace to the owner of the profile “SoooBootylicious.”!
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10.

ll,

12.

12,

apologized for any problems that my request to forward information about the
Comair website might have caused and asked her to picase remove the postin gto
prevent any further misunderstanding. A copy of this correspondence islattached
as Exhibit B. |

The next morning, I received two replies to my request from “SoooBootylisious.”
Copies of these messages are attached as Exhibits C and D. One of her messages
requested that I provide her with information on how to remove her post containing
my e-mail. I responded immediately with my suggestions and offered to help her
take down the post should she need it, Ialso apologized again for any problems I
may have caused, A copy of this correspondence js attached as Exhibit B

At the time I make this affidavit, the original posting containing my e-mail remains

|

on the GALLS employees’ message board despite my request to remove it

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I have been counseled by the aitomeys at our law firm to refrain from any |
communication in the future that is in any way related to our practice without the
prior approval of the partners,

I sincerely regret any breach of ethics or rules of the Kentucky State Bar inet my
communication may have caused. My only intention was to pass along information
about the Comair website in an effort to help someone who might be affected by this
tragedy. I have been very upset and worried about how my actions might have been
misinterpreted and the resulting effects this could have my reputation as a legal
professional and the reputation and good standing of our firm. I also regret any hut

or pain it may have caused those who have Jost loved ones in the Comair Flight

5191 tragedy.

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FURTHER, DEPONENT SAYETH NOT.

Caine DH ,

Courtney M. Southegn

SWORN TO BEFORE ME

ah
isay day of September, 2006. NOTARY PUBLIC
Notary Public for North

GINAK. MOTSINGER
ohing
'y Commission Expires: SlROO7

oy FOASYTH COUNTY, NC
INA Ke [OTS NGEE

Case 2:15-cv-02306-JAD-PAL Document 38-2 Filed 04/28/16 Page 7 of 20

Instant Message
Send Message

[ mua Tea posted: Aug 31, 2006 7:18 pM
Someone sent this to me and I thought ethers may Senefit from it.

My name is Courtney and £ work for a firm in Kernersville, NC. As a result of the recent
tragedy In Lexington, KY we have deveicped and donated @ website for support and
grief counseling to the families of the victirns of that fight,

If you are in contact with any of the family members touched by this event, pi ease
send them to www.cormeirsi91familles.com. There are names of grlet counselors
available to speak with these folks, several of them being family members of other

MCHOLASVELLE victims of aviation disasters, also a message board for the families. and freinds to
KENTUCKY * communicate, or for peapie to post memorlals and rememberances, ;

Instant Message i
Send Mecca We wanted to try make It as easy as possible for everyone invoived,

Thank you and repost If you see fit.

Listing 1-4 of 4 1 of 4

Past 4 Reply

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TO BE PUBLISHED

Supreme Court of Kentucky

2008-SC-000546-KB

JOSEPH L, ANDERSON MOVANT

V. IN SUPREME COURT |

KENTUCKY BAR ASSOCIATION RESPONDENT
OPINION AND ORDER !

Movant, Joseph L. Anderson, pursuant to SCR 3.480(2), moves this Count to
enter an Order resolving the pending disciplinary proceeding against him (KBA File No.
44601) by imposing a Public Reprimand and suspending his license to practice law in
the Commonwealth of Kentucky for 30 days, probated upon the condition that Movant
issue various apologies, comply with the rules on lawyer advertising, and not receive
any further disciplinary charges for one year. The Kentucky Bar Association (KBA)
states that it has no objection to the motion. :

]. Background

Movant was admitted to the practice of law in the Commonwealth of Kentucky on
July 16, 2001; his KBA member number is 88840. Movant's bar roster address is 2615
Sparkling Place, Winston-Salem, North Carolina 27103. He has not previously been
disciplined in the Commonwealth of Kentucky.

On August 27, 2006, Comair Flight 5191 crashed in Lexington, Kentucky. On
August 28, 2006, the Movant, a licensed Kentucky attorney whose office is in;North
Carolina, where he is also licensed to practice law, contacted Lynne Koenigsknecht,

owner of Radiant Designs, a website design company. The Movant personally

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instructed her to design and publish a website: www.comair51 91 families.com (Comair

website”), |

On August 30, 2006, the Comair website was published online, making it
available to the general public. The website stated that it offered counseling sen to
friends and family members of the crash victims. In fact, while it did offer counseling
services, the website was also an advertisement for Anderson, Weber & Henry,
P.L.L.C., the Movant's law firm.’ The website included two references on the left hand
side to “Anderson, Weber & Henry PC” (presumably these were links to the firm's
website); the statement, “This website donated by Michael J. Pangia and the law offices
of Anderson, Weber, and Henry ~ advocates for victims.” at the bottom right ofithe
page; and the text “Legal Advertisement FOR LEGAL ASSISTANCE CALL TOLL-
FREE" followed by an 800-number centered at the bottom of the page. The site also

included a link labeled “Site Disclaimer,” which led to a page with the following/text:

We strive to provide the highest quality legal representation in all cases
undertaken by the firm, and our goal is the most complete recovery
possible. However, we cannot guarantee results. Anderson Weber & |
Henry, P.C. provides this website for general informational purposes only,
and these materials are not intended to constitute and cannot constitute
jegal advice or promises of results in a particular case. Persons wishing
to take legal action or obtain legal advice should seek legal counsel, and

should not rely on any inferences drawn from this site. The materials may
be considered advertising in your state, but are intended as informational.

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The text was followed by the name of Movant's firm and the firr’s physical address,
telephone and facsimile numbers and website address. On September 1, 2008, the

|

Movant's firm began advertising the website through Google.com.

:
'

" Anderson, Weber & Henry, P.L.L.C. is no longer in existence. The Movant
formed a new firm, Anderson Pangia & Associates, P.L.L.C., in mid-2007.

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|
On August 31, 2006, Courtney Southern, a paralegal employed by Anderson,
Weber & Henry, P.L.L.C., sent an email to an employee of Galls, Inc., directing the
employee to the Comair website. Three employees of Galls, Inc., a company based in
Lexington, Kentucky, died in the crash of Flight 5191. The employee who was,

contacted by Ms. Southern forwarded the email to other Galls, Inc. employees, One

employee accessed the Comair website and discovered that by clicking on the text

“legal assistance,” the site immediately changed to the firm website of Andersen, Weber
& Henry, P.L.L.C, On September 5, 2006, the website was removed from public
access, |

On September 6, 2006, the Attorney's Advertising Commission (AAC) sent a
letter to the Movant's firm notifying it that both the Comair website and the firm’s website
had not been submitted for review as advertisements, The submission of the
advertisement, pursuant to SCR 3.130-7.02, should have occurred either befote

publication or simultaneous io the publication.

Before receiving the letter from the AAC, but after being contacted by ajreporter
regarding the angry reaction to the advertisement in Lexington, Kentucky, the Movant
called the AAC to discuss the advertisement. On September 25, 2006, the Movant

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submitted both of the websites to the AAC for review. !

The AAC forwarded the advertisements to the Mass Disaster Task Force, which
|
had been formed pursuant to SCR 3.130-7.60 following the Comair crash. The Task

Force reviewed the advertisements and found them to be non-compliant. The! Task
Force further found that the websites were misleading and, when coupled with the

actions of the Movant's paralegal, were In violation of the rules prohibiting soupuation in

the immediate aftermath of a mass disaster. The Task Force then referred the Movant

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to the Inquiry Commission for a determination of what, if any, further action was

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appropriate.
The Inquiry Commission issued a four-count Charge against the Respondent on

April 17, 2008. Count | of the Charge alleges that the Movant's conduct, as “escribed
above, violated SCR 3.130-5.3 when he failed to properly supervise his paralegal,
Courtney Southern, leading to her attempt to solicit clients in a way that did not comply
with the Movant's professional obligations. Count I! of the Charge alleges thatithe

Movant violated SCR 3.130-7.09(3) when his paralegal contacted an employee of Gals,

inc. via email and directed the employee to the Comair website, and the email to the

Galls, Inc, employee did not contain the words “THIS IS AN ADVERTISEMENT" as

expressly required, Count Ill of the Charge alieges that the Movant violated SCR 3.130-

7.09(4), which sets a thirty day no contact period following a mass disaster such as an

|

airplane crash, when his paralegal initiated direct communication with an employee of

Galls, Inc., via email. Count !V of the Charge alleges that the Movant violated SCR
3.130-7.15 when he directed the creation of the Comair website, which was false,
deceptive, and misleading as it appeared to be a grief counseling website established to
aid and support friends and families of those who died in the disaster, but was in fact an
advertisement for hls firm.

In his answer to the Charge, Movant admitted that his conduct violated the
ethical rules, that he was responsible for the acts of his employees and associates, and |

demonstrated remorse.

li. Analysis

|
in his current motion, Movant admits that his conduct as described in the Charge

and as recounted above violated the requirements of SCR 3,430-5.3, SCR 3.430-

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7.09(3), SCR 3.130-7.09(4), and SCR 3.130-7.16,. He also agrees to the imposition of
discipline and requests a public reprimand with certain conditions and a probated 30-
day suspension. The negotiated sanction rule provides that the KBA may “object] to

the terms proposed... ." SCR 3.480(2), Upon receiving such objection, “If the Court

determines good cause exists, [it] shall remand the case for hearing or other

proceedings specified in the order of remand.” Id. However, the KBA has stated that it
has no objection to the sanction proposed by Movant. Nevertheless, acceptarice of the
proposed negotiated sanction still falls within the discretion of the Court: “The Court

may approve the sanction agreed to by the parties, or may remand the case for hearing
or other proceedings specified in the order of remand.” Id. |
In support of the negotiated sanction, the KBA cites two cases where the

misconduct was followed by a public reprimand. See Howes v. Kentucky Bar!

Association, 214 S.W.3d 319 (Ky. 2007) (imposing a public reprimand for sending
letters to the treating physicians of the attorney's clients that stated that he somehow
represented them in the recovery of their fee and they could either pay him 25% or
agree that he represent them to recover the fee when the physicians were not his

clients nor had they sought his advice or assistance); Croley v. Kentucky Bar |

Association, 176 S.W.3d 136 (Ky. 2005) (Imposing public reprimand for failureito timely
file a lawsuit followed by offer to settle the professional negligence suit filed by, his
former clients, knowing they were not represented). The KBA also cites two cases

where the misconduct led to a suspension. See Martin v. Kentucky Bar Association,

214 S.W.3d 322 (Ky, 2007) (imposing 30 day suspension when attorney went to two

hospitals following car accidents and sollcited the victims); Gregory v. Kentucky Bar

Association, 151 S.W.3d 31 (Ky. 2004) (imposing 30 day suspension for failing to

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ensure legal assistant/secretary’s conduct was consistent with attorney’s professional
obligations as a lawyer, which resulted in the commingling of client funds with those of
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attorney).

In support of its argument that a reprimand is the appropriate sanction, the KBA

notes that the American Bar Association has stated, with regard to improper solicitation

of clients, “Suspension is generally appropriate when a lawyer knowingly engaged in
conduct that is a violation of a duty owed to the profession, and causes injury or

potential injury to a client, the public, or the legal system.” American Bar Association,

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Standards for Imposing Lawyer Sanctions §7.2 (1992). The Commentary to this section

of the ABA's Standards indicates that suspension could be an appropriate sanction in

this case: "A suspension is also appropriate when a lawyer solicits employment
knowing that the individual is in a vulnerable state.” Id. §7.2 cmt. The KBA notes,
however, that the ABA’s Standards calls for certain factors to be considered in|
mitigation, which the KBA argues indicates that a reprimand is the most appropriate
sanction for Movant. Specificaily, the KBA cites the following mitigating factors: “(a)
absence of a prior disciplinary record; . . . (e) full and free disclosure to the disciplinary
board or cooperative attitude toward proceedings; .. .(I} remorse... .” Id. § 0,32.
The KBA notes in its Response, “As [Movant]’s Answer to the Charge indicates,
he takes full responsibility for his actions and regrets what occurred,” The KBA further
cites a portion of the ABA’s Standards that it argues explains the purpose of a |
reprimand and further indicates that it is the most appropriate sanction in this case:

“Reprimand is generally appropriate when a lawyer negligently engages in conduct that

ls a violation of a duty owed to the profession, and causes injury or potential! injury toa

client, the public, or the legal system.” Id. §7.3; see also id. § 7.3 cmt. (Reprimand is

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:
the most appropriate sanction in most cases of a violation of a duty owed to tht
profession, Usually there is little or no injury to a client, the public, or the legal system,
and the purposes of lawyer discipline will be best served by imposing a public sanction

that helps educate the respondent lawyer and deter future violations. A public sanction
also informs both the public and other members of the profession that this behavior Is
improper.”), ;

While the ABA's Standards are not binding authority on this Court by any means,
they can at times serve as persuasive authority. After reviewing the standards ‘and the

other authorities cited by the KBA, this Court concludes that the discipline propped by
Movant is largely adequate,

In one respect, however, the Court finds that good cause exists to depart from
the agreement. Specifically, the Court finds that the agreed upon size of the apology
letter to be published in the newspaper is inadequate. Therefore, the Court dogs not
accept the agreed-upon discipline in its entirety. /

Order

ACCORDINGLY, IT !S ORDERED THAT:
|
1. Movant, Joseph L. Anderson, is publicly reprimanded for the above-described

and admitted violations of the Rules of Professional Conduct and is further suspended
from the practice of law in the Commonwealth of Kentucky for 30 days, with said
suspension probated on the following conditions: ,

a. Movant will publish in the Lexington Herald-Leader a letter of apology
in substantially the same form as the sample language included as an exhibit to
the KBA’s response to his motion, with any corrections needed to retiect the facts

(including the name of the website in question). The letter as published in the

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Lexington Herald-Leader must be at least one-eighth of a page in size, and must

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be published within 30 days of the entry of this Order.

b. Movant will send a letter of apology, also in substantially the same form

as the sample language included as an exhibit to the KBA's response to nis

motion, to Galls, Inc, within 30 days of entry of this Order. !
c. Movant will submit all advertisements targeted at Kentucky residents,
including his firmn’s website, to the Attorneys’ Advertising Commission atileast 30

days prior to the publication of the advertisements for a period of one year from

the date of entry of this Order, |
d. Movant will not receive any further Charges for a period of one year

from the date of entry of this Order.

2. In the event that the Movant falls to comply with any of the terms of disciptine

set forth herein, upon motion by the KBA Office of Bar Counsel, the Court may revoke

the probation and impose the 30-day suspension from the practice of Jaw.

3, In accordance with SCR 3.450, Movant is directed to pay all costs associated
|

with these disciplinary proceedings against him, sald sum being $95.21, for whieh
execution may issue from this Court upon finality of this Opinion and Order. !

4. If Movant is not willing to accept the sanction imposed by this Order, insofar
as it differs from that requested by Movant, he may object to it. If Movant so objects,
this matter shall ber remanded for further disciplinary proceedings pursuant to SOR
3.480(2). |

All sitting. All concur.

ENTERED: September 18, 2008.

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THE STATE BAR OFFICE OF THE CHIEF TRIAL COUNSEL |
OF CALIFORNIA ENFORCEMENT
1149 SOUTH HILL STREET, LOS ANGELES, CALIFORNIA 90015-2299 TELEPHONE: (213) 765- 000

TDD: (213) 765-1566!
FAX: (2133 765- 318:

DIRECT DIAL: (213) 765-1223
January 8, 2008

PERSONAL AND CONFIDENTIAL

Joseph L, Anderson
P.O, Box 4405
Greensboro, NC 27404

Re: Case Number: 07-O-13655
Coimptamant: State Bar Investigation

Warning Letter

Dear Mr. Anderson:

This letter is directed to you based on my understanding that you are not represented by counsel in this
matter. If 1 am incorrect in this regard, please arrange to have me advised of the name of your attorney
so that any future communications can be directed to your counsel.

The State Bar of California has completed its investigation of the allegations raised by the above-
referenced complaint. As part of our investigation you were contacted and given an opportunity to
provide an explanation for your conduct as related to the complaint. Based upon a review of the
findings, we conclude that there was substantial evidence of a violation of Rules of Professional
Conduct, rule 1-400(D). However, in the exercise of our discretion, we have decided to close this
complaint with the issuance of this warning letter and will take no disciplinary action against you at th
time.

w

Our decision to issue the warning letter is based upon the following facts: Following the crash of
Comair Flight 5191 on August 27, 2006, your law firm created and placed a grief counseling website dn |
the internet purportedly to aid the friends and family of the Comair victims. A link on that website
directed viewers to your law firm’s site. The grief counseling website did not indicate that it was a legal
advertisement for your firm and therefore it was misleading to the public.

Please be advised of the following:

. This letter is issued pursuant to Rule 2601 of the Rules of Procedure of the State Bar of
California and does not constitute the imposition of discipline. Only the California
Supreme Court or, in limited instances, the State Bar Court, can impose discipline.

. It is the intention of the Office of the Chief Trial Counsel that this letter not be
considered as evidence of professional misconduct in any future proceeding, court

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Joseph L. Anderson

January 8, 2008
Page 2

hearing, or application for employment.

. Our determination to close this matter is without prejudice and conditional, We may
reopen this matter if we discover new material evidence, or if the Chief Trial Counsel’s
designee, in his or her discretion, otherwise determines there is good cause to do so,

You may ask that our decision to close this complaint without the imposition of discipline be reviewed
by an aitorney designated by the Chief Trial Counsel. If you wish to do so, your request must be in

writing, addressed to the individual signing below, and postmarked within 30 days of the date of this
fetter, Review may result in: (1) rescission of the warning letter and dismissal of the complaint; (2)
reopening of the matter and referral for formal disciplinary prosecution before the State Bar Court; or
(3) a determination that the warning letter was appropriately issued, in which case no further action will
be taken,

ee ours,

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\LeeAtin Kern
Deputy Trial Counsel

RM

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STATE OF WEST VIRGINIA

OFFICE OF DISCIPLINARY COUNSEL
2008 KANAWHA BOULEVARD, East
CHARLESTON, WEST VIRGINIA 25311
office: (304) 558-7999
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Chief Lawyer Disciplinary Counsel
Lawrence J. Lewis

Lawyer Disciplinary Counsel
Rachael L, Fletcher Cipoletti
Andvea J. Hinerman

Charles A. Jones, HI

September 4, 2007

Melissa Stembach

Membership Director of the National Board of Trial Advocacy
200 Stonewall Boulevard, Suite 1

Mail Box 11

Wrentham, Massachusetts 02093

Re: Leiter of Good Standing and Ethics Information for Joseph L. Anderson, Esquire

Dear Ms. Sternbach:

Pursuant to your request for files at The West Virginia State Bar, as of the date of this letter,
contains the following information:

1, He was admitted to The West Virginia State Bar on May 21, 2002; and
2, He is currently in good standing with a Reciprocity status with The West Virginia State Bar
and, as such, is licensed to practice law in the State of West Virginia.

With respect to any ethics complaints having been filed, our records, which date back to
December, 1984, are as follows:

1. He has had no complaints filed with our Office.
Should you need any further information, please contact us.

Sincerely yours,

Evelyn Stover
Office Assistant

/es

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, 2007, My Commission expires "Oo ~ ob. {{o*

OFFICIAL Sean
NOTARY
STATE OR Wee, eS

Notary Public

rariieaeega ra com Maston cxpkas Santer

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NORTH CAROLINA BEFORE THE
GRIEVANCE COMMITTEE
WAKE COUNTY OF THE
NORTH CAROLINA STATE BAR
07G1128

IN RE: Joseph L. Anderson,

ATTORNEY AT LAW ADMONITION

Smet emer tee”

On January 24, 2008, the Grievance Committee of The North Carolina State Bar met and
considered the grievance filed against you by the North Carolina State Bar.

Pursuant to section .0113(a) of the Discipline and Disability Rules of the North Carolina State
Bar, the Grievance Committee conducted a preliminary hearing. After considering the information
available to it, including your response to the letter of notice, the Grievance Committee found
probable cause. Probable cause is defined in the rules as "reasonable cause to believe that a member
of the North Carolina State Bar is guilty of misconduct justifying disciplinary action."

The rules provide that after a finding of probable cause, the Grievance Committee may
determine that the filing of a complaint and a hearing before the Disciplinary Hearing
Commission are not warranted and the Grievance Committee may issue various levels of discipline
depending upon the misconduct, the actual or potential injury caused, and any aggravating or
mitigating factors. The Grievance Committee may issue an admonition, a reprimand, or a censure.

An admonition, which is the least serious form of discipline authorized, is imposed in cases in.
which an attorney has committed a minor violation of the Rules of Professional Conduct.

Your website indicated that your firm was a “plaintiff's trial practice specializing in cases

- involving nursing home abuse and neglect, aviation disasters, toxic torch, medical malpractice and
abuse and neglect of persons with disabilities.” In another link on your website, you indicated that your
firm specialized “in matters involving abuse and neglect of individuals living in residential facilities
such as ICF/MRs, group homes and long-term nursing facilities...” Your reference to specializing in
certain legal matters was in violation of Rule 7.4(b) of the Revised Rules of Professional Conduct,

You are hereby admonished by the North Carolina State Bar for your professional misconduct.
y your p

In accordance with the policy adopted October 15, 1981 by the Council of the North Carolina »
State Bar regarding the taxing of the administrative and investigative costs to any attorney issued an
admonition by the Grievance Committee, the costs of this action in the amount of $100.00 are hereby:
taxed to you.

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Done and ordered, this the 3 ad) day of WMeed 2008.

JRE/ir

